 Case 4:10-cr-00054-RH-CAS            Document 691        Filed 08/14/12      Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

                       Plaintiff

vs.                                                   Case No. 4:10cr54-RH/CAS

LEONARD DESHAZIER

                       Defendant.
                                                  /


                          FINAL ORDER OF FORFEITURE

       THIS CAUSE CAME before the Court on the Motion of the United States of

America for a Final Order of Forfeiture. Being fully advised in the premises, the Court

finds as follows:

       WHEREAS, on December 1, 2010, this Court entered a Preliminary Order of

Forfeiture against the following:


       A. Real property located at 880 Tyler Sanders Road, Quincy, Florida with all
       improvements and appurtenances thereon.
       B. 2002 Dodge Ram 1500, VIN: 3B7HA18N12G102931
       C. $10,000.00 in United States Currency

       WHEREAS, pursuant to Rule G(4)(a)(iv)(C) of the Supplemental Rules for

Certain Admiralty or Maritime Claims and Asset Forfeiture Actions, notice of this

forfeiture action and of the intent of the United States of America to dispose of the

property was published on an official Internet government forfeiture site,

www.forfeiture.gov, for at least 30 consecutive days, beginning on December 3, 2010.
 Case 4:10-cr-00054-RH-CAS             Document 691          Filed 08/14/12      Page 2 of 2




Such notice informs all third parties of their right to file a petition within sixty (60) days

of the first date of publication setting forth their interest in said property; and

        WHEREAS, the United States of America released the Lis Pendens from the

above-referenced real property and now forfeits the following:

        A. 2002 Dodge Ram 1500, VIN: 3B7HA18N12G102931
        B. $10,000.00 in United States Currency

        WHEREAS, no persons or entities having an interest in the above-referenced

property have filed petitions, and it is hereby

        ORDERED, ADJUDGED and DECREED that the right, title and interest to the

this property—the 2002 Dodge Ram 1500, VIN: 3B7HA18N12G102931, and $10,000.00

in United States Currency—is hereby condemned, forfeited and vested in the United

States of America and shall be disposed of in accordance with the law.

        SO ORDERED on August 14, 2012.

                                        s/Robert L. Hinkle
                                        United States District Judge
